           Case 1:23-cr-00055-JMC Document 14 Filed 03/27/23 Page 1 of 3




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES           *
                        *
    v.                  *   Case No. 23-cr-055-JMC
                        *
KENNETH JAY BONAWITZ    *
                        *
*   *   *   *   *   *   *   *    *     *     *   * *
   UNOPPOSED MOTION TO CONTINUE DETENTION HEARING

      The Defendant, Kenneth Jay Bonawitz, by and through his attorneys, Michael

E. Lawlor, and Brennan, McKenna & Lawlor, Chtd., respectfully requests that this

Honorable Court continue the detention hearing currently set in this case for

Monday, March 27, 2023 at 2:00 p.m. In support of this Motion, counsel states the

following:

      1.       A detention hearing is set in this matter before United States Magistrate

Judge Robin M. Meriweather for 2:00 p.m. on Monday, March 27, 2023.

Undersigned counsel respectfully requests that the hearing be continued to another

date and time convenient for the Court and counsel later this week for the following

reasons:

            a. On March 27, 2023 at 2:00 p.m., the undersigned is scheduled to appear

               in-person for a proceeding in the United States District Court for the

               District of Maryland. See United States v. Cherubin, No. TDC-16-319

               (D. Md.).


                                            1
           Case 1:23-cr-00055-JMC Document 14 Filed 03/27/23 Page 2 of 3




            b. The undersigned met with Mr. Bonawitz yesterday at the Correctional

               Treatment Facility. This meeting had been delayed by Mr. Bonawitz’s

               COVID-19 diagnosis. The undersigned counsel is in contact with Mr.

               Bonawitz’s family members and requires additional time to prepare a

               pretrial release plan to present to the Court.

      2.       This Motion is unopposed. The undersigned has contacted Assistant

United States Attorney Sean McCauley, who has indicated that the United States

does not oppose this request.

      3.       Should the Court grant this Motion, undersigned requests that

Chambers confer with the parties before setting a new date so that undersigned can

ensure that a release plan is in place at the time of the rescheduled hearing. .

      Wherefore, for the reasons stated in this motion, the undersigned counsel

respectfully asks this Court to continue the detention hearing to a date later this week

to be cleared with the Court and counsel.


                                          Respectfully submitted,

                                                /s/
                                          ______________________
                                          Michael E. Lawlor
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                                          6305 Ivy Lane, Suite 700
                                          Greenbelt, Maryland 20770
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                                             2
        Case 1:23-cr-00055-JMC Document 14 Filed 03/27/23 Page 3 of 3




                          CERTIFICATE OF SERVICE

      I hereby certify that on this day, March 27, 2023, a copy of the foregoing was

sent to all parties via ECF.


                                           /s/
                                      ______________________
                                      Michael E. Lawlor




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